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EXHIBIT 3 8

 

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PRODUCT LINES l ;SEARCH [Fa`riiii??ii;é? i` "“"* paq-

- -» 22013,¢\
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LEr) LlGHrs
C|earanc.e Marker Lighls
ldenliicalion Elar Ligms > 22018A
Cab Man<er Ligms _ ' ` Polycarbonale lens is sonic We|ded 10 housing
rum Signai Lighis l ": ' - l f wm w Mu|lrvrelleclive design providing a brilliant and
Sioprrumn'an Ligm$ 1 attractive look Colcred mulli-refleclar is a new
rraiier Lighi Kies ` g disiinclive design Can be mounled vertically or
rowing Lighi Kiis _ hurizonlal|y. Grommel and plug are available
lnierior& Dome Lighis 7 n ` separately l<il includes lighl. grommel and plug
Eack-Up Ligms _ \/ollage B-l¢l \."DC. Us`rng 16-Super LED

License Lighls

iNcANDESCENT LlGl-iTS
lilOuerNG ACCESSORlES pan plumbers Cc>lor Descrip:ion

REFLECTORS 22013A amber light only

Accsssoaies 22018AK amber kit

ELECTRiCAL ACCESSOR|ES
2201BCA amber wlclear lens light only

§ w mm 2201BCAA amber multi-ref|ector wlc|ear lens light only

isn i.iGHrS 2201 BCAAK amber mulli-ref|eclor wlclear lens kit

lNCANDESCENT LiGHTS 2201BCAK amber W,r¢|ear lens kit

ACCESSOR|ES
REPLACEMENT PARTS

ii claire l le 55018 grommet

LED i_iGl-irS
53576 plug

JNCANDESCENT L|GHTS

n E|ACK I

ABOU`[ l_UC | DITY

l NEEWPROUUCTS l PRGDUCT LINES l 'l'l;_'CH|\lOLOGY | §MPLOYMENT | HO`I Lli`\lK

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PRODUCT L|NES

US A
LED LlGHTS

C|earan(',e Marker Lights
ldenlll'icalion Bar Lights
Cab Marker Lighls
Tum Signa| LightS
Slopi'Tumeai| Ligbls
Trailer tight Kils
Towlng Light Kils
interior a Dome Lights
Eack¢t.lp Lighls

License Lights
lNCANDESCENT |_IGHTS
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REFLECTORS
ACCESSOR|ES

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Etirope-
tEotiGHt"S

|NCANDESCENT LIGHTS

Acoessoaies
l‘- osha l i a

LED LIGHTS

lNCANDESCENT L|GHTS

ABOUT LUClDlTY

Part Numbers
2201BCR
2201BCRK
2201BCRR
2201BCRRK
2201 BR

22018RK

REPLACEMENT PARTS
55013

53876

1 NE\/\i r>eooucrs [

' » . l `i','-\. \`

Color

red with clear lens

red with clear lens

red multi-renector wlc|ear lens

red multi-refleclor wlclear lens

red

red

 

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> 22018R

Polycarbonate lens rs sonic We|ded to housing
Mulli-reflective design providing a brilliant
andallracl:ve look Co|ored muth-reflector is a new
distinctive design lvtay be mounted vertically or
borizontally Kit includes light grommet and plug
\/ollage 8»14\/DC. Llsing 16-Super LED

Description
light only
kit

light only
kit

light only

Kit

grommel

plug

n aaci< l

PRODUCT LlNES | TECHNOL.OGY l EMPLOYIVIENT l HOT |_lNK
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